                 Case 3:13-cv-00960-ST     Document 1-1     Filed 06/10/13     Page 1 of 6




1

2

3

4                        IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                 FOR THE COUNTY OF MULTNOMAH
5
           MARK SOLOMON,                           )
6
                                                   )     Case No. 1303-03681
                              Plaintiff,           )
7
                                                   )     SUMMONS
8                v.                                )
                                                   )
9          CAPITAL INSURANCE GROUP,                )
                                                   )
10                            Defendant.           )
                                                   )
11
           TO:   CAPITAL INSURANCE GROUP
12               EAGLE WEST INSURANCE COMPANY
                 James A. Geisler
13
                 616 NE 25th Street
14               Gresham, Or 97030

15               You are hereby required to appear and defend the complaint filed

16         against you in the above entitled action within thirty (30) days from the date

17         of service of this summons upon you, and in case of your failure to do so, for

18     want thereof, Plaintiff(s) will apply to the court for the relief demanded in the

19     complaint.

20         NOTICE TO THE DEFENDANT: READ THESE PAPERS CAREFULLY!
              You must "appear " in this case or the other side will win automatically.
21     To "appear" you must file with the court a legal paper called a "motion" or
       "answer. " The "motion" or "answer" must be given to the court clerk or
22     administrator within 30 days along with the required filing fee. It must be in
       proper form and have proof of service on the plaintiff's attorney or, if the
23     plaintiff does not have an attorney proof of service upon the plaintiff.
                                                                             SHENKER & BONAPARTE,           LLP
                                                                             1500 SW 1sr AvE, Sam 765
Page 1 -     SUMMONS                                                         Prirrn ANn, OR 97901
                                                                             TELEPHONE (503) 242-0005
                                                                             FACSIMILE (503) 323-7360
                                                                             email: bob@bb-law.net




                                                                                                          Exhibit I
                                                                                                        Page 1 of 6
                Case 3:13-cv-00960-ST       Document 1-1       Filed 06/10/13    Page 2 of 6




1                If you have any questions, you should see an attorney immediately. If
           you need help in finding an attorney, you may call the Oregon State Bar's
2          Lawyer Referral Service at (503) 684-3763 or toll-free in Oregon at (800) 452-
           7636.
3
                       DATED this Lb day of                ■         , 2013.
4
                                            SHENKER & BONAPARTE, LLP
5

6
                                            By:
                                                  Robert E.L. Bonaparte V,OSB #883411
7
                                                  Of Attorneys for Plaintiff Mark Solomon
8
           STATE OF OREGON          )
9                                   ) ss.
           County of Multnomah      )
10
                  I, the undersigned attorney of record for the plaintiff, certify that the
11         foregoing is an exact and complete copy of the original summons in the above
           entitled action.
12

13
                 By:
14                     Robert E.L. Bonaparte,' B #883411
15                                                *   *    *

16     TO THE OFFICER OR OTHER PERSON SERVING THIS SUMMONS: You are
       hereby directed to serve a true copy of this summons, together with a true
17     copy of the complaint mentioned therein, upon the individual(s) or other legal
       entity(ies) to whom or which this summons is directed, and to make your
18
       proof of service upon a separate document which you shall attach hereto.
19

20

21              By:
                       Robert E.L. Bonaparte, O SB\;#88341
22

23

                                                                                SHENKER & BONAPARTE,        LLP
                                                                                1500 SW    AVE, SurrE 765
Page 2 -     SUMMONS                                                            PORTLAND OR 97701
                                                                                TELEPHONE (503) 242-0005
                                                                                FACSIMILE (503) 323-7360
                                                                                email: bob@bb-law.net




                                                                                                        Exhibit 1
                                                                                                      Page 2 of 6
          Case 3:13-cv-00960-ST         Document 1-1   Filed 06/10/13     Page 3 of 6

                                                                                                                                l


                                                                                    MAY 1 5 ZU13
 1                                                                                                                              I
 2

 3                                                                                                                          D
                                                                                                                            N


 4                                                                                                                          ,
 5                   IN THE CIRCUIT COURT OF THE STATE OF OREGON
6
                             FOR THE COUNTY OF MULTNOMAH
7
       MARK SOLOMON,                           )    Case No.   1305-06926
8                                              )
                         Plaintiff,            )    COMPLAINT
9                                              )
            v.                                 )    (Breach of Insurance
10                                             )    Contract)
       CAPITAL INSURANCE GROUP,                )
11                                             )    (Not Subject to Mandatory
                        Defendant.             )    Arbitration)
12                                             )
                                               )    JURY TRIAL REQUESTED
13
                                                                                                                        ,
14
                                  CLAIM FOR RELIEF
15                          (Breach of Insurance Contract)
16
                                          COUNT 1
                                      (Express Contract)
17
                                              1.
18
            Plaintiff Mark Solomon ("plaintiff") is, and at all times mentioned
19
      herein was, the owner of property located at 10611 SE Prairie Schooner                                        I
20    Road, Prineville, Oregon (the "property").
21                                            2•
           Defendant Capital Insurance Group ("defendant") is, and at all times
22                                                                                                              I
      mentioned herein was, a corporation.
23

                                                                     SHENKER & BONAPARTE, LLP
Page 1 - COMPLAINT                                                   1500 SW FIRST AVE, SurrE 765
                                                                     PORFtAND, OR 9720E
                                                                     TELEPI-IONE (503) 242-0005
                                                                     FACSIMILE (503) 323-7360
                                                                     email: bobObb-law.net




                                                                                                    Exhibit 1
                                                                                                Page 3 of 6
            Case 3:13-cv-00960-ST      Document 1-1     Filed 06/10/13    Page 4 of 6




 1
                                               3.
 2            Defendant issued a homeowners policy (the "policy") to plaintiff. The
3      policy was issued for valuable consideration in the form of policy premiums,

4      which were paid by plaintiff.
                                               4.
5
              Pursuant to the policy, defendant insured the property and agreed to
6
       pay for certain losses, including, but not limited to theft losses of personal
7
       property.
8                                              5.
9             While the policy was in force, on or about May 18, 2011 burglars

10     entered plaintiff's dwelling, and stole personal property.
                                               6.
11
              The losses suffered by plaintiff fall within the coverage of defendant's
12
       policy. Pursuant to the terms of the policy, plaintiff sought payment from
13
       defendant for all his damages. Defendant has refused to pay plaintiff's loss
14     of personal property.
15                                            7.
16            Defendant's denial and refusal to pay plaintiff's damages constitutes a                           q
                                                                                                                I
17    breach of the insurance contract.
                                              8.
18
             As a result of defendant's breach of contract, plaintiff has been
19
      damaged in the amount of $120,000.
20                                            9
21           Plaintiff is entitled to attorney fees under ORS 742.061.                                      I

22    /I/
23    ///

                                                                       SHENKER & BONAPARTE, LLP
Page 2 - COMPLAINT                                                    /500 SW FIRST AVE, SUM- 765
                                                                      PORTLAND, OR 97201
                                                                      TELEPHONE (503) 242-0005
                                                                      FACSIMILE (503) 323-7360
                                                                            bob@bb-taw.net




                                                                                                Exhibit 1
                                                                                              Page 4 of 6
            Case 3:13-cv-00960-ST      Document 1-1        Filed 06/10/13   Page 5 of 6




 1
                                           COUNT 2
 2                                    (Implied Covenant)
                                               10.
 3                                                                                                                 i
              Plaintiff realleges and incorporates by reference the allegations in
4
       paragraphs 1-9.
 5                                             11.
6             Defendant failed to make payment, refused to make payment, and
7      delayed payment for losses that were caused by the theft, in violation of the                               T
                                                                                                                   T
       policy of insurance, thus causing damages to plaintiff.                                                     T
8
                                              12.
9
              Defendant violated the implied covenant of good faith and fair dealing
10
       in failing properly to investigate the loss, adjust the claim, and pay plaintiff
11
       for all the losses sustained as a result of the entry and theft, causing
12     damages to plaintiff:
13                 a.    On or about May 18, 2011 burglars entered plaintiff's

14     dwelling and stole plaintiff's personal property.
                   b.    Plaintiff promptly reported the losses, and provided proper
15
       proof of loss. More than six months have passed since plaintiff's
16
      submissions of proof of loss.
17
                   c.    Defendant has repudiated the contract.
16                 d.    Plaintiff has supplied all information and documentation
19    requested by defendant.
                                                                                                               T

20                                            13.                                                              T



             It was foreseeable to defendant that if it breached its obligations under
21                                                                                                             I
      the insurance policy, plaintiff would suffer damages.
22
      ///
23

                                                                        SHENKER & BONAPARTE, LLP
Page 3 - COMPLAINT                                                      1500 SW FIRST AVE, SUITE 765
                                                                        PORTLAND, OR 97201
                                                                        TELEPHONE (503) 242-0005
                                                                        FACSIMILE (503) 323•7363
                                                                        emall! bobPbb-faw.net




                                                                                                   Exhibit 1
                                                                                                 Page 5 of 6
           Case 3:13-cv-00960-ST        Document 1-1      Filed 06/10/13     Page 6 of 6




 1
                                                14.                                                               i
 2           As a result of the breach of contract by defendant, plaintiff has
 3     suffered damages as set forth in paragraph 8.

4            WHEREFORE, plaintiff prays for relief from defendant as follows:
                     (a) On the CLAIM FOR RELIEF: For damages in the amount of
5
       $120,000, including plaintiff's attorney fees herein;
6
                     (b) For prejudgment interest at the legal rate from the time
7
       damages are incurred;
8                    (c)   For plaintiff's attorney fees, costs and disbursements
9      herein; and
10                   (d)   For such other relief as the court deems just and proper.

11
            Dated this 15 th day of May, 2013.
12
13
                                        SHENKER & BONAPARTE, LLP
14

15
                                        By
16                                           Rober            parte, OSB No, 883411
                                             Of Attorneys for Plaintiff Mark Solomon
17
18
                                      Trial Attorney:
19                                    Robert E.L. Bonaparte, OSB No. 883411
                                                                                                              1
20

21

22

23
                                                                       SHENKER & BONAPARTE,             LIP
Page 4 - COMPLAINT                                                     Iwo   SIR FIRST AVE, SUITE 765
                                                                       PORTLAND, OR 97201
                                                                       TELEPHONE (503) 242-0005
                                                                       FACSIMILE (503) 323-7360
                                                                       emall: bobV,b-law.net




                                                                                                      Exhibit 1
                                                                                                    Page 6 of 6
